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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Federal Trade Commission
                                    Plaintiff,
v.                                                       Case No.: 1:22−cv−03372
                                                         Honorable Manish S. Shah
Walmart Inc.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 1, 2022:


       MINUTE entry before the Honorable Manish S. Shah: The motion for oral
argument [46] is taken under advisement. No response to the motion is permitted. If the
court has questions for the parties, it will alert counsel. Notices mailed. (psm, )




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